Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 1 of 14




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  DISPLAY TECHNOLOGIES, LLC,            §
                                        §
        Plaintiff,                      §                      Case No:
                                        §
  vs.                                   §                      PATENT CASE
                                        §
  KLIP XTREME, LLC                      §                      JURY TRIAL DEMANDED
                                        §
        Defendant.                      §
  _____________________________________ §


                                             COMPLAINT

         Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this Complaint

  against Klip Xtreme, LLC (“Defendant” or “Klip”) for infringement of United States Patent No.

  9,300,723 (the “ ‘723 Patent”).

                                 PARTIES AND JURISDICTION

         1.      This is an action for patent infringement under Title 35 of the United States Code.

  Plaintiff is seeking injunctive relief as well as damages.

         2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

  Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

  under the United States patent statutes.

         3.      Plaintiff is a Texas limited liability company with a place of business at 1801 NE

  123rd Street, Suite 314, North Miami, FL 33161.

         4.      On information and belief, Defendant is a Florida limited liability company with

  a principal office address of 454 Holiday Dr., Hallandale, FL 33009. On information and belief,

  Defendant may be served through its agent, CF Registered Agent, Inc., at 100 S. Ashley Dr.,

  Suite 400, Tampa, FL 33602.



  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                                             |1
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 2 of 14




          5.      This Court has personal jurisdiction over Defendant because Defendant has

  committed, and continues to commit, acts of infringement in this District, has conducted business

  in this District, and/or has engaged in continuous and systematic activities in this District.

          6.      Upon information and belief, Defendant’s instrumentalities that are alleged

  herein to infringe were and continue to be used, imported, offered for sale, and/or sold in this

  District.

                                                VENUE

          7.      On information and belief, venue is proper in this District under 28 U.S.C. §

  1400(b) because Defendant is deemed to be a resident of this District. Alternatively, acts of

  infringement are occurring in this District and Defendant has a regular and established place of

  business in this District.

                                     COUNT I
                (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

          8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

          9.      This cause of action arises under the patent laws of the United States and, in

  particular, under 35 U.S.C. §§ 271, et seq.

          10.     Plaintiff is the owner by assignment of the ‘723 Patent with sole rights to enforce

  the ‘723 Patent and sue infringers.

          11.     A copy of the ‘723 Patent, titled “Enabling social interactive wireless

  communications,” is attached hereto as Exhibit A.

          12.     The ‘723 Patent is valid, enforceable, and was duly issued in full compliance with

  Title 35 of the United States Code.

          13.     Defendant has infringed and continues to infringe one or more claims, including

  at least Claims 12, 14, 16, 17, and 20 of the ‘723 Patent by making, using, and/or selling media



  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                                           |2
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 3 of 14




  systems covered by one or more claims of the ‘723 Patent. For example, Defendant makes, uses,

  and/or sells the BluFusion 2.1 channel speaker system with NFC and Bluetooth wireless

  technology (SKU:KWS-640), and any similar products (“Product”). Defendant has infringed and

  continues to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.

         14.     Regarding Claim 12, the Product is configured to receive a media file (e.g., music

  file) from a wireless mobile device (e.g., mobile phone) over a communication network (e.g.

  Bluetooth network or NFC). The wireless mobile device (e.g., mobile phone) sends data (e.g.,

  music file) to the media system. The wireless mobile device is a passive NFC device, whereas

  the media system is an active NFC device as it can receive the data during wireless transmission.

  Certain aspects of this element are illustrated in the screenshots below and/or those provided in

  connection with other allegations herein.




  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                                            |3
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 4 of 14




         15.     The Product includes a wireless receiver (e.g., Bluetooth receiver). Certain

  aspects of this element are illustrated in the screenshots below and/or in those provided in

  connection with other allegations herein.




         16.     The Product includes a security measure (e.g., Bluetooth PIN). Certain aspects of


  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                                       |4
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 5 of 14




  this element are illustrated in the screenshots below and/or those provided in connection with

  other allegations herein.




         17.     The Product is disposed in an accessible relation to at least one interactive

  computer network (e.g., Bluetooth network) that has a wireless range structured to permit

  authorized access (e.g., via pairing code) to said at least one interactive computer network.

  Certain aspects of this element are illustrated in the screenshots below and/or those provided in

  connection with other allegations herein.




  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                                            |5
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 6 of 14




         18.     When the wireless mobile device is within the wireless range, the wireless mobile

  device is detectable by the media system (e.g., the KWS-640 BluFusion automatically detects a

  smartphone with NFC when placed within NFC range). Data transmission through NFC is done

  by two devices: polling device and listening device. The polling device is the one that initiates

  the communication link and the listening device is the one that detects the signal. In the Product,

  the media system is the polling device and the wireless mobile device is the listening device.

  The media system (active NFC) is sending electromagnetic signals within a certain area. The

  mobile phone (passive NFC) detects the signals and the connection is established. As the

  electromagnetic signals are being initiated by the media system, the media system behaves as an

  initiator (polling device) and the mobile device phone behaves as a target (listening device).

  Certain aspects of this element are illustrated in the screenshots below and/or those provided in

  connection with other allegations herein.




  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                                            |6
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 7 of 14




  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                  |7
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 8 of 14




         19.     At least one digital media file (e.g., music file) is initially disposed on the wireless

  mobile device (e.g., the mobile phone includes one or more music files). Certain aspects of this

  element are illustrated in the screenshots below and/or those provided in connection with other

  allegations herein.




         20.     The media system is structured to detect the wireless mobile device disposed

  within the wireless range (e.g., KWS-640 BluFusion speaker automatically detects the mobile

  phone when placed within NFC range). The media system (active NFC) sends electromagnetic

  signals within a certain area. The mobile phone (passive NFC) detects the signals and the

  connection is established. Certain aspects of this element are illustrated in the screenshots below

  and/or those provided in connection with other allegations herein.


  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                                              |8
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 9 of 14




         21.    A communication link (e.g., NFC) is structured to dispose the media system

  (KWS-640 BluFusion) and the wireless mobile device (e.g. mobile phone) in a communicative

  relation with one another via the at least one interactive computer network. Certain aspects of


  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                                      |9
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 10 of 14




  this element are illustrated in the screenshots below and/or those provided in connection with

  other allegations herein.




            22.   The communication link is initiated by the media system (e.g., the media system

  sends electromagnetic signals which are detected by the mobile phone). Certain aspects of this

  element are illustrated in the screenshots provided in connection with other allegations herein.

            23.   The wireless mobile device and the media system are structured to transmit the

  at least one digital media file there between via the communication link (e.g., KWS-640

  BluFusion speaker allows for the transmission of files between itself and the wireless mobile

  device; e.g., the mobile device transmits the music file to the media system). Certain aspects of

  this element are illustrated in the screenshots provided in connection with other allegations

  herein.



  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                                           | 10
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 11 of 14




            24.   The communication link is structured to bypass the security measure of the media

  system for a limited permissible use of the communication link by the wireless mobile device

  for only transferring the at least one digital media file to, and displaying the at least one digital

  media file on, the media system (e.g., the KWS-640 BluFusion speaker bypasses the security

  measure (e.g., PIN-based pairing process) of the Bluetooth network using the NFC). Certain

  aspects of this element are illustrated in the screenshots provided in connection with other

  allegations herein.

            25.   Regarding Claim 14, the transmission of the at least one digital media file from

  the wireless mobile device to the media system completely bypasses the security measure (e.g.,

  the Wi-Fi security settings such as encryption or password requirements are completely bypassed

  for the purpose of transmitting the digital media file). Certain aspects of this element are

  illustrated in the screenshots provided in connection with other allegations herein.

            26.   Regarding Claim 16, the media system is an audio system.

            27.   Regarding Claim 17, the communication link is a Bluetooth connection.

            28.   Regarding Claim 20, the digital media file is provided by the wireless mobile

  device.

            29.   Defendant’s actions complained of herein will continue unless Defendant is

  enjoined by this court.

            30.   Defendant’s actions complained of herein are causing irreparable harm and

  monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

  and restrained by this Court.

            31.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                      PRAYER FOR RELIEF




  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                                           | 11
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 12 of 14




            WHEREFORE, Plaintiff asks the Court to:

            (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

  herein;

            (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

  attorneys, and all persons in active concert or participation with Defendant who receive notice

  of the order from further infringement of United States Patent No. 9,300,723 (or, in the

  alternative, awarding Plaintiff running royalties from the time of judgment going forward);

            (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

  with 35 U.S.C. § 284;

            (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

            (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

  law or equity.




  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                                            | 12
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 13 of 14




     Dated: July 26, 2019                  Respectfully submitted,

                                           Sand, Sebolt & Wernow Co., LPA

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  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT KLIP XTREME, LLC                            | 13
Case 0:19-cv-61897-AHS Document 1 Entered on FLSD Docket 07/26/2019 Page 14 of 14
